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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



                                                       Case No. 23-gj-13 (JEB)
 IN RE GRAND JURY SUBPOENA
 GJ20230207-E0107                                      Under Seal

                                                       EX PARTE TO GOVERNMENT ONLY

                                            ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1. The Government’s [1] Motion to Compel is GRANTED IN PART and DENIED IN

           PART;

      2.                                 must testify in the grand jury on matters related to the

                   enumerated topics, with the exception of the specific circumstances detailed in

           Part III.B.2.b and page 17–18 of the accompanying Memorandum Opinion; and

      3. The Government shall submit to the Court, by 5:00 p.m. on Sunday, March 26, 2023,

           proposed redactions outlined in red box to the accompanying Memorandum Opinion

           that are necessary before disclosure of the Opinion to       and former President

           Trump.


                                                            /s/ James E. Boasberg
                                                            JAMES E. BOASBERG
                                                            Chief Judge
Date: March 25, 2023
